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                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA

                                                        CRIMINAL MINUTES - TRIAL


 Case No.          CR 20-00228-ODW                                                                            Date       May 18, 2022

 Present: The Honorable          United States District Judge, Otis D. Wright, II

 Interpreter

                Sheila English                                      Judy Moore                                        Damaris M Diaz/ Scott Lara
                Deputy Clerk                                   Court Reporter/Recorder                                   Assistant U.S. Attorney



                 U.S.A. v. Defendant(s):                 Present Cust. Bond                   Attorneys for Defendants:             Present App. Ret.

Mei Xing                                                       X      X                Callie G. Steele/ Neha A. Christerna             X        X




         Day COURT TRIAL                                   2nd      Day JURY TRIAL                                      Death Penalty Phase

         One day trial;           Begun (1st day);             Held & continued;               Completed by jury verdict/submitted to court.

         The Jury is impaneled and sworn.

         Opening statements made

         Witnesses called, sworn and testified.

         Exhibits identified                                        Exhibits admitted
         Government rests.                             Defendant(s)                                                                                  rest.

  X      Motion for mistrial by                      Defense                  is      X        granted               denied                 submitted

                  Motion for judgment of acquittal (FRCrP 29)                 is               granted               denied                 submitted

         Closing arguments made                                    Court instructs jury                             Bailiff sworn

         Alternates excused                                        Jury retires to deliberate                       Jury resumes deliberations

         Finding by Court as follows:                                                Jury Verdict as follows:

 Dft #                  Guilty on count(s)                                           Not Guilty on count(s)

         Jury polled                                               Polling waived

         Filed Witness & Exhibit lists                   Filed Jury notes                 Filed Jury Instructions               Filed Jury Verdict

         Dft #            Referred to Probation Office for Investigation & Report and continued to                                      for sentencing.

         Dft #            remanded to custody.             Remand/Release#                       issd.        Dft #             released from custody.

         Bond exonerated as to Dft #

         Case continued to                                            for further trial/further jury deliberation.
  X      Other:       The Court recuse himself. Case is to be reassigned.
                                                                                                                                    :       29
                                                                                   Initials of Deputy Clerk                se



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